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                           UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES

 Date: April 6, 2021             Time: 10 minutes               Judge: WILLIAM H. ORRICK
                                 2:40 p.m. to 2:50 p.m.

 Case No.: 20-cv-03345-WHO       Case Name: BMA LLC v. HDR Global Trading Limited



Attorney for Plaintiff:       Pavel I. Pogodin

Attorneys for Defendant:      Stephen D. Hibbard, Matthew Silveira, Matthew Rawlinson,
                              Douglas Yatter, Edward Takashima, and Marshall Baker

 Deputy Clerk: Jean Davis                             Court Reporter: Debra Pas


                                       PROCEEDINGS

Case Management Conference conducted via videoconference. The Court cautions plaintiff
counsel regarding name calling and personal attacks which are improper, unnecessary, and
detrimental to effective advocacy.

The Court states that the related Messiah matter appears narrower and less advanced than this
case, and that at least for the moment coordination does not appear to be appropriate.

Plaintiff’s amended complaint should be filed by May 4, 2021. Defendants shall file any
motions to dismiss within 28 days after the filing of the amended complaint or by June 1. The
Opposition should be filed 21 days later (June 22), and the Reply 14 days after that (July 6). The
hearing on the motion is set for July 21, 2021 at 2 p.m.
